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Mealy: Reconsider Motion

CEIVED
US BANKRUPTCY COURT DELAWARE
2024FEB21 AM 10:43
CH 11 CASE 20 10343
CLERK
US BANKRUPTCY COUR?
IN RE DISTRICT OF DELAWAR:

BOY SCOUTS OF AMERICA...

or

MOTION FOR RECONSIDERATION REHEARING OF FEBURARY (6?) ORDER: "SELECT $3500 WHEN VOTEING ...CHOICE
WAS FINAL" 6 ROER .

MOTION FOR SANCTIONS AND FOR ADDL TIME TO SUBMIT EVIDENCE ECT
NOTICE

PLAINTIFF WAS GANG ATTACKED IN PR NEMINO CANALES NEW APT DOOR KICKED IN AND POLICE ADVISED NOT
TO RETURN UNABLE TO ACCESS FILES EVIDENCE NEEDED FOR BOY SCOUT CLAIM PENDING MOTIONS INCLUDEING
THIS

MARCH 23 IS NEW DATE FOR PENDING MOTIONS AND PRIOR UNDECIDED MOTION THIS IS ADDED TO THAT ZOOM
HEARING

TRUSTEE FAILED TO ADVISE OF THE FED 6 HEARING SAID IT WAS ADJOURNED TO MARCH 22 PeCATY ONE

Ton

UNDISPUTED FACTS

U TRUSTEE
J) PROMISED TO SEND ZOOM LINK FOR PETITIONER TO ARGUE UNDECIDED MOTION DENIED ZOOM ATTENDANCE
PRIOR 11/8/23 DUE TO MALISHOUS RACEISM INSTEAD TRUSTEE CONCEALED 2/8 HEARING AND LED PLAINTIFF TO
BELIVE IT WAS CANCELLED TO 3/28
2) CONCEALED DATE OF 2/8 HEARING IN 2 EMAILS EXHIBIT

U1) THERE IS NO COMPETENT EVIDENCE OF

#1 -PRIOR TO ALLEGED MARCH 7 2022 DEADLINE TO TRUSTEE FAILED TO NOTIFIY THERE WAS A DEADLINE (DOC
11608 Page 6 line 10

#2- "CHOICE (OF EXPIDITED OPTION )WAS FINAL "

Ula) TRUSTEES AGENTS NOTIFIED PLAINTIFF PRIOR TO 3/7/22 AND AFTER THEY RECIVED LETTER AND DOCS
CANCELLING EXPIDITED PAY OPTION(EXHIBITS. __) CHOSEN ONLY FOR 1WT CLAIM

Ulb) 3/26/20 UNSERVED ORDER RE CLAIM FORMS
PLAINTIFF BEFORE AND AFTER FILLING OUT CLAIMS WAS ADVISED BY OMNI AGENTS TO FILL OUT TWO SEPERATE
CLAIMS FOR EACH SINGLE PERPETRATOR SEX ABUSE SUFFERES ALSO TWO AMMENDED CLAIMS CANCELING
EXPIDITED OPTION IN THE IST CLAIM [EXHIBITS

Ulc) ONLY 275 SEX ABUSED SCOUTS SEEK TO CANCEL EXPIDITED OPTION ALL REPRSENTED BY ATTORNEYS

Uld) TRUSTEE NEEDS TO TREAT NON ATTORNEY REPRESENTED AS PLAINTIFF SAME AS FED RULES REQUIRE PRO SE
NOT REQUIRED TO COMPLY WITH STRICT RULES ALSO BE ALLOWED TO AMMEND COMPLAINT CLAIM

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le) COURT DENIED DUE PROCESS FAILED TO NOTIFY PLAINTIFF TO SUBMIT BRIEF IN MOTIONS BEFORE THE COURT
RESULTING IN FEB 6 ORDER UNSERVED

U2) PLAINTIFF SUBMITTED TWO SEPERATE CLAIMS FOR EACH SEX ABUSE BY A SEPERATE SINGLE PERPETRATOR
eo A WEEK LATERSEEEEFOT WANTING AT FIRST TO REPORT THE TROOP LEADERS SEX ABUSE ALSO UNSURE

* FINGER DIGITAL PENETRATION CONSTUTED SEX ABUSE DEFINITION DUE TO EMBARASSMSNT...
U2) UNBEKNOST TO TRUSTEE AS I SUFFERED I READ IT IS TYPICAL TO BE TOO EMBARASED TO REPORT SEX ABUSE BY
A OLDER PERPETRATOR

U3) 9/30/21 ORDER OF PLAN SOLITATION PROCEDURE AND EXPEDITED DISTRIBUTION ELECTION

U4) NO NOTICE WAS GIVEN BY BALLOT OR OTHEWISE THAT
#1) ELECTION OF EXPIDITED PAYMENT WAS IRREVOKABLE AS ARGUED IN TRUSTEES BRIEF IN OPPOSITION PAGE.
LINE

US) NO NOTICE WAS GIVEN IN BALLOT THAT A SECOND BALLOT HAD TO BE FILED BY A DEADLINE TO CORRECT
CHANGE THE FXPIDITED PAY OPTION

U6) BOY SCOUT TRUSTEES OMNI AGENT STATED TO PLAINTIFF TO CANCEL CORRECT CHANGE THE EXPIDITED PAY
OPTION SEND A LETTER THEN FILE AMMENDED CLAIM FORM THEN FILE 2ND BALLOT(EXHIBITS. __)

U7 ) ISUBMITED 1ST BALLOT 12/13/21

U8) I SUBMITTED 2ND BALLOT 12/28/21

U9) I SUBMITTED 3RD BALLOT 1/27/22

U1L0) I SUBMITTED 4TH BALLOT 4/  /23

U11) TRUSTEE NEVER SERVED SOLITION PROCEEDURES REFERES TO IN BRIEF PAGE 4 I LINE 5 ,6

U12) DENYING EQUAL PROTECTION DUE PROCESS DESPITE PENDING MOTION COURT AND TRUSTEE ONEILL AGAIN
CONCEALED FAILED TO NOTIFY OF PENDING MOTIONS AND ORDER DECIDED 2/6/24 PER LAW 360 INTERNET NOTICE :"
BOY SCOUT VICTIMS CANT REDO BOX CHECK MISTAKE COURT SAYS" content unavailable without subscription" THAT IS
BASIS OF PENDING MOTIONS SCHEDULED MARCH 2023-CV

U13) THERE IS COMPETANT EVIDENCE | PETITIONER IMMEDIATELY NOTIFIED ONMI AGENTS AND CANCELLED
EXPIDITES OPTION CHOSEN BY ERROR FOR ONLY IST OF 2 SEPERATE SINGLE PERPERTRATOR A EX ABUSES
SUFFERED ALSO OMNI AND PETITIONER WAS UNAWARE OF" THE CHOICE WAS FINAL" IE PER ORDER RE BALLOT
SELECTION EXPIDITED OPTION

1) TRUSTEE FALSELY MISREPRESENTED I COULD NOT RECALL WHICH CLAIM I SELECTED EXPIDITES PAY FOR TO
MISLEAD COURT IT WAS VERY CLEAR ON BALLOT ERASED I WAS NOT LETTING SCOUT LEADER OFF FOR TOKEN
$3500.00

1B) TRUSTEE IN FRAUD ON COURT (AS DEFINED IN FED RULES RESTATED BY REEEFRENCE)MALISHOUSLY FALSELY
MISREPRESENTED PAGE 5 LINE 8

".. SUBMITTED BALLOT 12/13/21.... HE DID NOT SUBMIT A SUBSEQUENT BALLOT OR OTHERWISE SEEK TO CANCEL
RESCIND OR OTHERWISE CHANGE HIS ELECTION UNTIL APRIL 2023 WHEN HE CONTACTED OMNI AGENT

1C) PLAINTIFF NEEDS ADDL 60 DAYS TO GATHER FIND FILED EVIDENCE OF PROOF OF TRUSTEES FRAUDLENT
MISREPRESENTATION

2) ORDERS REFERED TO IN BRIEF WERE NEVER SERVED HEREBY REQUESTED TO GIVE DUE PROCESS NOTICE OF INFO
THAT TRUSTEE RELIES ON

2B) PLAINTIFFS IMMEDIATELY 2021 NOTIFIED OMNI AGENTS (EXHIBITS. —) TO CORRECT ERROR OF MARK IN BOX IE
SELECTION OF EXPIDITED SETTLEMENT ON THE 1ST CLAIM 4765 OF TWO SEPERATE CLAIMS AGAINST 2 SEPERATE

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SINGLE PERPERTRATORS 2ND CLAIM #
THE WORDING WRITTEN ON BALLOT INDICATEING SELICTED FOR ONLY IST CLAIM # 4765 WAS FRAUDLENT

3) TRUSTEE FAILED TO GIVE DUE PROCESS NOTICE OF
#1 HOW TO CHANGE CORRECT EXPIDITED OPTION
#2 DEADLINE TO CORRECT EXPEDITED OPTION

4) TRUSTEE ONLY DISCLOSED IN OPPOSITION BRIEF

Parg 2 ..."" THIRD MODIFIED FIFTH AMMENDED CH 11 PLAN OF REORGINIZATIONBSA LLC DI 10296AND ITS SUPPORTING
DOCUMENTS PROVIDE FOR A SINGLE RESOLUTION FOR EACH SUVIVOR REGARDLESS OF THE NUMBER OF ABUSES
SUFFERED...HE CANNOT NOW CHANGE HIS ELECTION OF EXPIDITED DISTRIBUTION REASONS IN TRUSTEES

CONSOLIDATED RESPONSE INNOPPOSITION TO (1) SUVIVOR CLAIMANT D.S. MOTION TO CHANGE ELECTION TO OPT

INTO EXPIDITED PAYMENT'(DOC 11608 CASE 20 10343)

5) PLAINTIFF DEMANDS COURT IGNORE AFOREMENTIONED CASE ARGUEMENTD UNATTACHED UNSERVED
REFFRED TO ALLEGED "REASONS"

6) COURT RAISED APPEARANCE OF BIAS AGAINST EXPIDITED OPTION CLASS BY STATEMENT

7) COURT ORDER ALLEGED WITHOUT COMPETANT EVIDENCE "SETTLEMENT WAS CLEAR THAT ABUSE
CLAIMENTS...SELECT $3500 WHEN VOTEING..CHOICE WAS FINAL"

8) PLAINTIFF SUBMITTED 3 BALLOTS TWO PRIOR TO DEADLINE ALSO ERASED FROM 12 13 22 BALLOT WORDS "
SELECTED ONLY FOR | CLAIM{XHIBIT)

9) PLAINTIFFS CANCELLATION OF EXPIDITED OPTION WAS PROCESSED BY OMNI AGENTS IN 2021 AND 2022 PRIOR
AND AFTER ALLEGED DEADLINES

10) THERE IS NO COMPETANT EVIDENCE THE PLAN (IE 3RD MODIFIED STH AMMENDED AND ITS ATTACHMENTS
#1 WAS SERVED DISCLOSED

#2 CLEARLY STATED EXPIDITED OPTION WAS IRREVOKABLE
#3 CHOICE OF EXPIDITES OPTION FOR IST CLAI ALLOWED 2ND CLAIM SAfjro BE DENIED SUE PROCESS

#4) ALLOWED 2 SEPERATE AND APART SEX ABUSES BY 2 SINGLE PERPETRATORS UNRELATED SEX ABUSERS TO BE
CONSIDERED MUTIPLE PERPETRATORS ANS AGGRAVATING FACTOR TO DENY 2ND SEX ABUSE FULL OR MATRIX
COMP3NSATION

#5 ALLOWED TRUSTEE TO DENY DUE PROCESS AND EQUAL PROTECTION
PETINMONE MEEAS Til 3/23 TS GATHSM RY; PENCE

WHEREFORE

PETITIONER REQUESTs RECONSISERATION OF FEB 8 ORDER AND REHEARING ORDERS OF APPROPIATE RELIEF HIS
CASE OF 2 SEPERATE CLAIMS a CASE CALIM71. BE SEPERATELY COMPENSATED ALSO ORDER
PETITIONER IN 2021 NOTIFIED T © VIA OMNI AGENT EXPIDITES OPTION WAS ERROR AND CANCELLED IN 2021
AND 2022

AND ORDER TRUSTEE FAILED TO NOTIFY PETITONER OF IRREVOK ABILITY OF EXPIDITES PAY OPTION AND
SANCTIONS UPON PROOF OF PRE 4/23 CORRECTION CHANGE CANCEL OF EXPIDITED OPTION AND APPROPIATE

RELEIFS P)EASe Scr Ue FOR 3/8/24
AlSo COURT RE! ScHk dU E
To

MAL L ‘WK
Dp

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